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                         Exhibit C
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From:             Licina, Rachel M
To:               Bill Canny; Ann Franken; mrsgpagrants; Sam Alarif; Caitlin Kelleghan; Emily Norton
Cc:               Gauger, Kelly A; Putzeys, Claire; Anderson, Kathryn E; PRM-Comp-Mgt; Gillyard, Jennifer C; Keating, Kaitlin E;
                  PRM-Admissions-Budget
Subject:          PRM Update on Payment Requests During the Foreign Assistance Pause – USCCB
Date:             Friday, January 31, 2025 10:00:11 AM




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  safe.



Greetings USCCB Colleagues,

PRM is complying with the Executive Order (EO) Reevaluating and Realigning United States
Foreign Aid which directs a 90-day pause in assistance including new obligations and
disbursements to both non-governmental organizations (NGOs) and international
organizations. At this time, recipient payments are on hold as they are evaluated for
compliance with the EO.

PRM is proactively working to release payments using the process established for the
review period. This may require additional documentation or certifications from recipients.
PRM will share additional information and/or requirements as they become available.

Please abide by the notice of suspension issued to your organization. Recipients are
reminded that any changes to award terms and conditions, as well as costs, must be
approved by a grants officer. The program officer does not have authority to approve award
costs or program changes.

We appreciate your patience during the 90-day pause and will do our best to process
payments quickly while adhering to requirements established by the President’s EO.

Please let me know if you have any other questions regarding this update or the notice of
suspension.

Thank you,
Rachel

Rachel Licina
Grants Officer
Bureau of Population, Refugees, and Migration
U.S. Department of State
Work: (771) 204 2944
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